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 8
     Counsel for Plaintiff                       Counsel for Defendants
 9   FINJAN, INC.                                PROOFPOINT, INC. and ARMORIZE
10                                               TECHNOLOGIES, INC.

11                               IN THE UNITED STATES DISTRICT COURT
12                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
13
                                       SAN FRANCISCO DIVISION
14
     FINJAN, INC.,                                Case No.: 13-CV-05808-HSG
15
                    Plaintiff,                    STIPULATION AND ORDER
16
                                                  REGARDING OPENING DAUBERT
17           v.                                   MOTIONS

18   PROOFPOINT, INC. and ARMORIZE                Trial Date:   June 13, 2016
     TECHNOLOGIES, INC.,
19
                    Defendants.
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     __________________________________________________________________________________
     STIPULATION AND [PROPOSED] ORDER REGARDING                Case No.: 13-CV-05808-HSG
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             Case 4:13-cv-05808-HSG Document 350 Filed 04/14/16 Page 2 of 6




 1          Pursuant to Civil Local Rules 6-1(b), 6-2, and 7-12, Plaintiff Finjan, Inc. (“Plaintiff”) and
 2 Defendants Proofpoint, Inc. and Armorize Technologies, Inc. (“Defendants,” collectively with

 3 Plaintiff, “the Parties”), by and through their respective counsel, have met and conferred in an effort to

 4 agree upon a modified schedule for certain pretrial deadlines:

 5          WHEREAS, the trial in this matter is currently scheduled for June 13, 2016;
 6          WHEREAS, the Pre-trial Conference in this matter is currently scheduled for May 24, 2016;
 7          WHEREAS, opening Daubert motions are currently due on April 15, 2016;
 8          WHEREAS, the parties have made substantial effort to work together in good faith to stipulate
 9 to narrow the potential issues in dispute by extending the deadline for opening Daubert motions by a

10 week, without altering any other pretrial deadlines or the trial date;

11          WHEREAS, on April 12, 2016 the Court issued an Order Granting in Part and Denying in Part
12 Motions for Summary Judgment (Dkt. 247);

13          WHEREAS, on April 13, 2016 Defendants supplemented certain financial data previously
14 produced to Plaintiff (“supplemented financial data”);

15          WHEREAS, the Parties have agreed that Plaintiff will serve a supplemental Expert Report of
16 Dr. Anne Layne-Farrar by Monday, April 18, 2016 to solely update the financial data in the attached

17 Schedules to reflect the supplemented financial data and the Court’s Order of April 12, 2016;

18          WHEREAS, the Parties have agreed that in response Defendants will serve a supplemental
19 Rebuttal Expert Report of Lance Gunderson by Wednesday, April 20, 2016 solely to update the

20 financial data in the attached Schedules to reflect the supplemented financial data and the Court’s

21 Order of April 12, 2016 and to respond to Dr. Layne-Farrar’s supplemental schedules;

22          WHEREAS, the Parties have agreed that each side may thereafter file a single Daubert opening
23 brief of up to 25 pages, but nothing in this stipulation precludes either side from seeking leave to file

24 an opening brief with additional pages upon a showing of good cause;

25          WHEREAS, the Parties respectfully request the Court re-schedule the following pre-trial
26 deadlines:

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     STIPULATION AND [PROPOSED] ORDER REGARDING                Case No.: 13-CV-05808-HSG
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 1
           Original          Stipulated                                  Event
 2
           Deadline        Proposed New
 3                            Deadline
      April 15, 2016      April 22, 2016       Opening Daubert Motions due
 4
            NOW THEREFORE, the Parties hereby stipulate to and respectfully request certain pretrial
 5
     submissions deadlines be set as stipulated and proposed in the table above.
 6
            IT IS SO STIPULATED.
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     STIPULATION AND [PROPOSED] ORDER REGARDING                Case No.: 13-CV-05808-HSG
     OPENING DAUBERT MOTIONS
            Case 4:13-cv-05808-HSG Document 350 Filed 04/14/16 Page 4 of 6



                                              Respectfully submitted,
 1

 2 Dated: April 14, 2016                  By: /s/ James Hannah
                                              Paul J. Andre (SBN 196585)
 3                                            Lisa Kobialka (SBN 191404)
                                              James Hannah (SBN 237978)
 4                                            KRAMER LEVIN NAFTALIS
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 8                                            lkobialka@kramerlevin.com
 9                                            jhannah@kramerlevin.com

10                                            Counsel for Plaintiff
                                              FINJAN, INC.
11
                                              Respectfully submitted,
12

13 Dated: April 14, 2016                  By: /s/ Jennifer A. Kash__________
                                              Jennifer A Kash (Bar No. 203679)
14                                            Sean Pak (Bar No. 219032)
                                              Iman Lordgooei (Bar No. 251320)
15                                            Sam Stake (Bar No. 257916)
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16                                            SULLIVAN, LLP
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20                                            samstake@quinnemanuel.com
                                              Counsel for Defendants
21                                            PROOFPOINT, INC. and ARMORIZE
                                              TECHNOLOGIES, INC.
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     STIPULATION AND [PROPOSED] ORDER REGARDING                Case No.: 13-CV-05808-HSG
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                              ATTESTATION PURSUANT TO L.R. 5-1(I)
 1

 2         In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this

 3 document has been obtained from any other signatory to this document.

 4                                             /s/ Peter Klivans
                                                Peter Klivans
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     STIPULATION AND [PROPOSED] ORDER REGARDING                Case No.: 13-CV-05808-HSG
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 1                                                 ORDER
 2 PURSUANT TO STIPULATION, IT IS SO ORDERED.

 3         The Parties shall brief Daubert motions as set forth in the April 14, 2016 Stipulation
 4 Regarding Opening Daubert Motions.

 5

 6 DATED: April 14, 2016                                ___________________________
 7                                                      The Honorable Haywood S Gilliam, Jr.
                                                        United States District Judge
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     STIPULATION AND [PROPOSED] ORDER REGARDING                Case No.: 13-CV-05808-HSG
     OPENING DAUBERT MOTIONS
